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                                  COUNT FOUR
                       (Possession of Unregistered Firearms)

      On or about July 31, 2024, in Passaic County, in the District of New Jersey and

elsewhere, the defendant,

                             MIKHAIL GOULDSON,

did knowingly possess firearms, as defined in Title 26, United States Code, Section

5845(b), namely, nine machinegun conversion devices, two short-barreled rifles, and

five silencers, which were not registered to him in the National Firearms Registration

and Transfer Record.

      In violation of Title 26, United States Code, Section 586l(d).




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                                   COUNT FIVE
                        (Attempted Trafficking in Firearms)

      From in or around January 2024, through in or around July 2024, in Passaic

County, in the District of New Jersey and elsewhere, the defendant,

                             MIKHAIL GOULDSON,

did attempt to receive from another person firearms m or otherwise affecting

interstate or foreign commerce, namely, two trigger-stop pin frames, one silencer, and

26 machinegun conversion devices, knowing and having reasonable cause to believe

that such receipt would constitute a felony.

      In violation of Title 18, United States Code, Sections 933(a)(2) and (a)(3).




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